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 12                6.          Duer~c~lar~t arc~~s t~i~t ~~e ~~{i11 ine~~C~ ~3~~~1~~~l~e,cc~2~~ data a~u~~ila~l~ Cc~~• 1~~~

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 14        iCr~~.~es~~~-}, until t11c; tia~n~. c~f's~;t~iei~cin~;,

 IS                7.         'I'lae Pctxple anci r~efc~~i~a~~t a ~•c.~ tl~~~i sc~nteit~.ir~~; ~i11 iaL s~hu~ui~c~ fir as:c~c~r~ as
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 I7                ~.         `TI~~ t~x~;~i t~~~7 ~~;ni~nce that coin lie ii~~~~os~,c~ t~~~d~r tixis ~~1~~ a~reYc~~7~nt zs S ,°~.ars.

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 19       of enl~ai~cezi~~r~~s tzn~i~r I'~~x~l Cca~4 ~ 1 ~~i,1 {~ ~~~?c~. (c.~.
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     ~z~~ac~sed its the t~~<~tt~;r cif ~:'t~r"tc~l ,S'ttrte,s~ v. C`~xfAl l~cr~r•~r•, ~.~~~itet~ ~t~tcs ~7istric~t C'c~tl~fi, l~islric.#: of
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